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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                :
     In re:                                     :       Chapter 11
                                                :
     Stream TV Networks, Inc., et al.           :       Bankruptcy No. 23-10763 (DJB)
                                                :
                          Debtors.              :       (Jointly Administered) 1
                                                :

      OBJECTION OF WILLIAM A. HOMONY, IN HIS CAPACITY AS CHAPTER 11
     TRUSTEE OF THE BANKRUPTCY ESTATES OF STREAM TV NETWORKS, INC.,
          AND TECHNOVATIVE MEDIA, INC., TO THE MOTION OF VISUAL
     SEMICONDUCTOR, INC. FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE
      CLAIM PURSUANT TO 11 U.S.C. § 503 AND LOCAL RULE OF BANKRUPTCY
                            PROCEDURE 3002-2

          William A. Homony, in his capacity as Chapter 11 Trustee (the “Trustee”) of the

bankruptcy estates of Stream TV Networks, Inc. (“Stream”) and Technovative Media, Inc.

(“Technovative,” and collectively with Stream, the “Debtors”), by and through his counsel, Steven

M. Coren, Esquire and Coren & Ress, P.C., files this Objection to the Motion for Allowance of

Administrative Expense Claim (D.I. 966) (the “Motion”) 2, filed by Visual Semiconductor, Inc.

(“VSI”) and in opposition to the relief requested in the Motion (the “Objection”), the Trustee

respectfully states:

I.        INTRODUCTION

          As the Court considers VSI’s Motion seeking a $1.288 million administrative claim, it is

significant to highlight that VSI founder and CEO, Mathu Rajan (“Rajan”), is the Debtors’

President and CEO—who was removed from operational control by this Court because of gross




1
  On April 10, 2023, the Court entered an order directing joint administration of the above-
captioned cases. (D.I. 95).
2
  The Motion refers to the Stream estate as the entity against which an administrative claim is
asserted.


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mismanagement and disqualifying conflicts which necessitated the Trustee’s appointment by

Opinion and Order entered January 5, 2024 (the “Trustee Order” and “Trustee Opinion”) (D.I 549

and 548, respectively). This Court held, inter alia, that:

       (i)     the Debtors, under Rajan’s leadership, breached their fiduciary duties to creditors

and disclosure obligations to the Court in failing to disclose that VSI had made millions of dollars

of payments on behalf of the Debtors in return for Debtor stock;

       (ii)    Debtors’ management, specifically Rajan, contemporaneously and improperly

acted as a fiduciary of the Debtors and VSI;

       (iii)   “Alarmingly, the interrelationship between VSI, Stream, and Mr. Rajan’s

overlapping interests and roles in each is so entrenched that Mr. Rajan’s testimony . . . was at times

rendered unintelligible, or alternatively, intentionally deceptive, by his inability or unwillingness

to draw distinctions between the entities and his roles with each”; and,

       (iv)    “Mr. Rajan’s conflicted interests, gamesmanship, and lack of candor to the Court

and creditors rises to the level of gross mismanagement of the estates, even when viewed against

the high standard of glaring and inexcusable badness.”

Trustee Opinion at 60-61.

       Simply stated, VSI is an equity investor in Stream, not a creditor. See Rajan Affidavit,

D.I. #660-1 (a copy of which is attached as Exhibit A), at ¶ 4 (“VSI is a party in interest in the

Stream bankruptcy proceedings as an equity holder of Stream . . .”)). VSI’s eleventh hour effort

to morph into an administrative creditor is a ruse, and its alleged creditor status is compellingly

debunked by, among other things:

       (a)     this Court’s findings in the Trustee Opinion at 44 (“Mr. Rajan testified that VSI

had been paying all expenses of the Debtors since the inception of their bankruptcy cases, in




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exchange for shares in Stream”);

       (b)     numerous filings in Stream’s bankruptcy cases; 3

       (c)     Rajan’s sworn testimony at deposition and hearings before this Court that

culminated in the appointment of the Trustee; and,

       (d)     numerous documents contemporaneously prepared, including no less than seven

Stock Purchase Agreements, which compellingly establish that VSI advanced monies or paid

expenses in return for shares of Stream, not as a creditor with a debt to be repaid.

       Against this backdrop, VSI’s recently filed administrative claim in the amount of

$1,288,511.01 (the “Admin Claim”) (Claim No. 27), is a sham. Rather than benefitting the

Debtors’ bankruptcy estates, Rajan and VSI have acted solely in their conflicted self-interests—

making filing after filing opposing virtually every action taken by the Trustee and thereby

significantly increasing the administrative burden on Debtors’ bankruptcy estates to the substantial

detriment of the Estate’s innocent, real creditors.

       FACTS

       1.      On January 5, 2024, this Court entered an opinion and order appointing a Chapter

11 Trustee to oversee the Debtors’ bankruptcy cases.

       2.      The Trustee Opinion noted, inter alia, the continued “acrimony” and “lack of

progress” by the Debtors while under Rajan’s control and ultimately held that, due to the gross

mismanagement and lack of transparency under Rajan’s leadership (i) a Chapter 11 trustee must




3
  Filed at the outset of these cases, Debtors represented in Stream’s List of Equity Security Holders
that VSI owned over eighty percent (80%) of Stream’s voting shares. (D.I. 58). VSI was never
listed as a creditor in either of the Debtors’ Schedules of Assets and Liabilities or any filings by
either Debtor. Debtors’ Schedules of Assets and Liabilities and Statement of Financial Affairs are
attached as Exhibits B (Stream) and C (Technovative).



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be appointed to administer the Debtors’ cases, and (ii) Rajan was no longer authorized to act on

behalf of the Debtors’ estates. (D.I. 548).

         3.    In the interest of judicial economy, the Trustee incorporates the factual and legal

determinations of this Court in the Trustee Opinion and the Court’s Opinion entered January 8,

2025 (the “Sale Opinion”), issued in connection with the Sale Motion and Sale Order described

below. (D.I. 916).

         4.    Rajan is no stranger to bad faith bankruptcy filings, as he orchestrated two prior

bad faith filings involving Stream, both of which were dismissed by the Delaware bankruptcy

court.

         5.    The first was a Chapter 11 case initiated by the Stream TV Debtor on February 24,

2021, and docketed In re: Stream TV Networks, Inc., Bankr. D. Del. No. 21-10433-KBO (the

“Delaware Voluntary Bankruptcy Case”), and the second was an involuntary Chapter 7 case

initiated on May 23, 2021, by, inter alia, purported creditor Rembrandt 3D Holdings Ltd.

(“Rembrandt”), docketed In re Stream TV Networks, Inc., Bankr. D. Del. 21-10848 (the “Delaware

Involuntary Bankruptcy Case”). In each case, Rajan controlled Stream.

         6.    The Delaware Bankruptcy Court dismissed both bankruptcy cases within a three-

month period as having been filed in bad faith to divert the Debtors’ assets to Rajan and VTI (the

predecessor of VSI and alter ego of Rajan). The Delaware Bankruptcy Court further found that

the Delaware Involuntary Bankruptcy Case was a ruse concocted by Rajan and frequent

collaborator in Rajan’s chaotic litigation strategy, Rembrandt 3D Holding, Ltd. (“Rembrandt”), to

fix a contrived claim for Rembrandt to end-run the Delaware Bankruptcy Court’s dismissal of the

Delaware Voluntary Bankruptcy Case and imposed a twelve (12) month bar on Stream re-filing

another bankruptcy proceeding. See Trustee Opinion at 6.




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       7.      The Trustee Opinion identifies rampant breaches by Rajan of his fiduciary duties

to the Debtors—to line his pockets and those of VSI—and those findings are important here.

       8.      The Trustee Opinion made clear that Rajan was not capable of managing the

Debtors through their respective Chapter 11 cases. At almost every important juncture during the

Debtors’ Chapter 11 cases, Rajan proved to be a faithless fiduciary who was unreliable, untruthful,

cagey, engaged in self-dealing and who entered into transactions that disadvantaged the Debtors

in favor of his and VSI’s self-interests.

       9.      On January 9, 2024, the Office of the United States Trustee filed a Notice of

Appointment for William A. Homony to serve as the Chapter 11 trustee (the “Appointment Date”)

as well as an Application for the Entry of an Order Approving the Appointment of the Trustee (the

“Application”) (D.I. 554 and 553 respectively).

       10.     As of the Appointment Date, the Debtors had no operations, no employees, no

manufacturing, no products, no warehouses, no inventory, and virtually no money in their

respective estates.

       11.      Rajan’s misbehavior continued after he was removed and the Trustee was

appointed, as Rajan mislead the Trustee while he was getting up to speed, and offered illusory

financial support from VSI in a scheme to regain control of the Debtors’ assets.

       12.     The Trustee engaged in discussions with VSI and Rajan regarding a Debtor in

Possession loan, which VSI and Rajan were either unable or unwilling to provide.

       13.     Having concluded that Rajan and VSI were unreliable, the Trustee reached a

settlement with the secured creditors (the “Hawk Settlement Agreement”). The Trustee filed his

9019 Motion seeking Court approval of the Hawk Settlement Agreement on May 6, 2024 (D.I.




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630), which this Court approved on June 6, 2024 over VSI’s objection (the “9019 Order”) (D.I.

653).

        14.    The Hawk Settlement Agreement provided for the sale of the Debtors’ assets under

the auspices of the Trustee’s investment banker SSG Capital Advisors, LLC (“SSG”), with secured

creditor SeeCubic, Inc. (“SeeCubic”) as the Stalking Horse Bidder.

        15.    VSI objected to the Trustee’s retention of his initial investment banker Capstone

Capital Markets LLC based upon misrepresentations to the Court that Capstone had signed an

NDA with VSI and had a conflict; however, it was later established that the allegation was false.

Consequently, VSI’s then counsel withdrew, and the objection to Capstone’s retention was

withdrawn. 4

        16.    When VSI objected to the Bid Procedures and data room contents, the Court

afforded it the opportunity to comment publicly and supplement the Trustee’s disclosures to

potential bidders. VSI used that opportunity to chill bids by threatening purchasers with jail for

patent infringement should they buy the assets.

        17.    No bids were received for the Debtors’ assets apart from the Stalking Horse bid

from SeeCubic.

        18.    On December 9, 2024, the Court approved the sale of the Debtors’ assets over VSI’s

objection (the “Sale Order”) (D.I. 876). Once the Sale Order was entered, the Trustee and SeeCubic

worked diligently to consummate the Sale, which closed on January 3, 2025. See Notice of Closing

on the Sale of Substantially All of the Assets filed on January 6, 2025 (the “Notice of Closing”).




4
  Capstone ultimately withdrew as the Trustee’s proposed investment banker because it was unable
to agree with the United States Trustee in connection with a limitation of liability clause in its
proposed engagement agreement. The Trustee selected SSG as his investment banker and the
Court approved SSG’s retention on September 20, 2024 (D.I. 741).


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(D.I. 915).

         19.     Since the Trustee’s appointment, VSI has objected to, sought reconsideration of,

and/or appealed virtually every Motion filed by the Trustee and every order entered by this Court.

VSI even filed a meritless Mandamus Petition in the District Court (which was promptly denied)

and a motion to stay the Sale Order (which was also denied).

         20.     The following filings highlight VSI’s obstructionist behavior:



                                          VSI FILINGS


    Bankruptcy Docket      Date Entered in the                   Brief Description
        Number             Bankruptcy Docket
           633                   5/9/2024          Objection of Visual Semiconductor, Inc. to
                                                   Application to Employ Capstone Capital
                                                   Markets LLC as Investment Banker.
           642                  5/20/2024          Objection of Visual Semiconductor, Inc. to the
                                                   Motion of the Chapter 11 Trustee to Approve
                                                   Settlement Agreement And Mutual Release
                                                   with Hawk Investment Holdings, Ltd, as
                                                   Collateral Agent for The Secured Noteholders
                                                   of SeeCubic, Inc., Pursuant to Fed. R. Bankr. P.
                                                   9109(a) and 11 U.S.C. § 105.
           686                  6/20/2024          Visual Semiconductor, Inc.’s Motion to
                                                   Reconsider and/or Clarify Order Approving
                                                   Settlement Agreement Between Chapter 11
                                                   Trustee and Hawk Investment Holdings, Ltd
                                                   (ECF No. 653).
           712                  7/26/2024          Notice to Take Deposition of: William A.
                                                   Homony as the Chapter 11 Trustee Subpoena
                                                   Duces Tecum Filed by Visual Semiconductor,
                                                   Inc. 5



5
  The Court denied and/or quashed repeated efforts to depose the Trustee and others, finding that
the discovery requests were improper as they related to matters already decided and no longer at
issue.


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        717              8/21/2024        Limited Objection of Visual Semiconductor,
                                          Inc. to Motion to Employ SSG Advisors, LLC
                                          as Investment Banker
        718              8/24/2024        Amended Notice to Take Deposition of:
                                          William A. Homony as the Chapter 11 Trustee
                                          Subpoena Duces Tecum Filed by Visual
                                          Semiconductor, Inc.
        728              9/4/2024         Objection of Visual Semiconductor, Inc. to
                                          Motion to Quash and Motion to Compel
                                          Discovery.
        735              9/12/2024        Motion of Visual Semiconductor, Inc. to
                                          Expedite Motion to Compel Discovery.
        752              10/1/2024        Objection of Visual Semiconductor, Inc. to
                                          Trustee’s Motion for, inter alia, an Order (A)
                                          Approving the Sale of the Debtors’ Assets Free
                                          and     Clear   of      All    Liens, Claims,
                                          Encumbrances, and Other Interests, (B)
                                          Approving the Assumption and Assignment of
                                          Certain Executory Contracts and Unexpired
                                          Leases Related thereto, and (C) Granting
                                          Related Relief
        761             10/11/2024        Second Notice to Take Deposition of: William
                                          A. Homony, as Chapter 11 Trustee.
        762             10/11/2024        Notice to Take Deposition of: designated
                                          representative of Hawk Investment Holdings
                                          Ltd.
        763             10/11/2024        Notice to Take Deposition of Bob Morton.
        764             10/11/2024        Notice to    Take   Deposition   of    Alastair
                                          Crawford.
        765             10/11/2024        Notice to Take Deposition of Kevin Gollop.
        766             10/11/2024        Certificate of Conference as to Subpoena and
                                          Scheduling of Deposition for Hawk Investment
                                          Holdings Ltd.
        788              11/6/2024        Objection of Visual Semiconductor, Inc. to
                                          Trustee’s Motion for, inter alia, an Order (A)
                                          Approving Bidding Procedures and Form of
                                          Asset Purchase Agreement for the Sale of
                                          Substantially All of the Debtor's Assets
                                          Including Approval of Provisions for
                                          Designation of A Stalking Horse, (B)


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                                          Establishing the Notice Procedures and
                                          Approving the Form and Manner of Notice
                                          Thereof and Scheduling and Auction, (C)
                                          Approving Procedures for Assumption and
                                          Assignment of Certain Executory Contracts and
                                          Unexpired Leases, (D) Scheduling a Sale
                                          Hearing, (E) Granting Expedited Consideration
                                          Pursuant to Local Rule of Bankruptcy
                                          Procedure 5070-1(g); and (F) Granting Related
                                          Relief, and (II) an Order Approving (A) the Sale
                                          of Debtor's Assets Free and Clear of All Liens,
                                          Claims, Encumbrances, and Other Interests, (B)
                                          Approving the Assumption and Assignment of
                                          Certain Executory Contracts and Unexpired
                                          Leases Related Thereto and (C) Granting
                                          Related Relief.
        798             11/12/2024        Praecipe to Supplement VSI’s Objection to
                                          Trustee’s Motion for, inter alia, an Order (A)
                                          Approving Bidding Procedures and Form of
                                          Asset Purchase Agreement for the Sale of
                                          Substantially All of the Debtor's Assets
                                          Including Approval of Provisions for
                                          Designation of A Stalking Horse, (B)
                                          Establishing the Notice Procedures and
                                          Approving the Form and Manner of Notice
                                          Thereof and Scheduling and Auction, (C)
                                          Approving Procedures for Assumption and
                                          Assignment of Certain Executory Contracts and
                                          Unexpired Leases, (D) Scheduling a Sale
                                          Hearing, (E) Granting Expedited Consideration
                                          Pursuant to Local Rule of Bankruptcy
                                          Procedure 5070-1(g); and (F) Granting Related
                                          Relief, and (II) an Order Approving (A) the Sale
                                          of Debtor's Assets Free and Clear of All Liens,
                                          Claims, Encumbrances, and Other Interests, (B)
                                          Approving the Assumption and Assignment of
                                          Certain Executory Contracts and Unexpired
                                          Leases Related Thereto and (C) Granting
                                          Related Relief.
        815             11/22/2024        Visual Semiconductor, Inc.’s Objection to
                                          Trustee’s Motion for, inter alia, an Order (A)
                                          Approving the Sale of the Debtors’ Assets Free
                                          and Clear of All Liens, Claims, Encumbrances,
                                          and Other Interests, (B) Approving the
                                          Assumption and Assignment of Certain


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                                          Executory Contracts and Unexpired Leases
                                          Related thereto, and (C) Granting Related
                                          Relief.
        821             11/27/2024        Visual Semiconductor, Inc. Notice of Appeal of
                                          Motion to Reconsider.
        826             11/27/2024        Visual Semiconductor, Inc.’s      Motion    to
                                          Reconsider Motion to Quash.
        827             11/27/2024        Motion to Expedite Visual Semiconductor,
                                          Inc.’s Motion to Reconsider Motion to Quash.
        828             11/27/2024        Visual Semiconductor, Inc.’s Joinder to Motion
                                          for Sanctions.
        847              12/4/2024        Motion to Approve Disclosure Statement and
                                          (ii) Procedures for the Solicitation and
                                          Tabulation of Votes to Accept or Reject Visual
                                          Semiconductor, Inc.'s Chapter 11 Plan of
                                          Reorganization; and (iii) Related Notice and
                                          Objection Procedures.
        859              12/4/2024        Declaration re: of Mark Hsu in further support
                                          of Visual Semiconductor, Inc.'s Objection to
                                          Trustee's Sale Motion.
        861              12/4/2024        Visual Semiconductor, Inc. Notice of Appeal of
                                          Bidding Procedures Order.
        873              12/9/2024        Visual Semiconductor, Inc. and Rembrandt 3D
                                          Holding Ltd.’s Joint Notice of Appeal of Sale
                                          Order.
        877             12/10/2024        Visual Semiconductor, Inc. and Rembrandt 3D
                                          Holding Ltd.’s Amended Joint Notice of
                                          Appeal of Sale Order.
        891             12/18/2024        Objection of Visual Semiconductor, Inc. to
                                          Motion to Extend Deadlines, Timing and
                                          Amount of Certain Obligations in the Sharing
                                          and Carve-Out Agreement Between the Trustee
                                          and Hawk Investment Holdings, Ltd.
        941              2/11/2025        Visual Semiconductor, Inc. Notice of Appeal of
                                          Order Denying Stay Pending Appeal.




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       21.     Any funds alleged to have been advanced by VSI were not authorized as

administrative expenses, did not benefit the Debtors’ bankruptcy estates, and were paid by VSI, if

at all, to preserve its business opportunity to confiscate Debtors’ assets for Rajan and VSI, and

were expended without reasonable expectation of repayment.

       22.     On the contrary, as Rajan, VSI, and Stream represented to the Trustee and as they

admitted on numerous occasions, and as numerous documentary admissions make clear, VSI

advanced sums or paid expenses as an equity investment in Stream for which Stream issued shares

of stock to VSI, and not as loans for which a repayment obligation accrued.

   The following establishes the point:

   •   Rajan’s deposition testimony on August 14, 2023, at pp. 77-79:

              Q.    What arrangement does VSI have with Stream whereby it’s paying
       Stream’s employees?

              A.      There’s prepetition – some postpetition by mainly prepetition
       subscription agreements. It’s signed-up subscription agreements paying Stream TV
       expenses, paying legal expenses, paying for vendors, paying for supply chain,
       paying for production, paying for a wide range of expenses…

               Q.     And all of those expenses during the pendency of the bankruptcy
       continue to be paid by VSI?

               A.     Yeah. VSI has been paying, correct. That is correct.

              Q.      And what does VSI get in exchange for paying all of Stream’s
       expenses?

               A.     Shares. It’s equity.

               Q.     … How often is VSI getting issued this equity? …

               A.     Once or twice a week.


                                              ***




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              Q.     Approximately how much money per month is VSI paying for
       expenses associated with Stream in exchange for receiving shares in Stream?

               A.      … since the bankruptcy has been filed, it’s probable a million and a
       half. It will be 2 million soon. …

Selected pages of the deposition testimony are attached as Exhibit D.

   •   Rajan’s hearing testimony on August 17, 2023 at pp. 205-206:

               Q.     VSI has been paying all the expenses of the Debtor since filing a

               bankruptcy, correct?

               A.     Yes, that is correct.

               Q.     And for all the money that VSI spends, it receives an allotment of stock in

               Stream, correct?

               A.     That is correct.

               Q.     And again, that stock for the payments is pursuant to subscription

               agreements, correct?

               A.     Yeah, that’s correct….

               Q.     You’ve entered into post-petition subscription agreements with VSI,

               whereby VSI receives shares in Stream in exchange for paying expenses of Stream,

               correct?

               A.     Correct.

Selected pages of the hearing testimony are attached as Exhibit E.

   •   Shortly after he was appointed, the Trustee reached out by email to Debtors’

counsel, Rafael Zharalddin, to inquire about “Stream TV Funding.” Debtors’ counsel

responded that VSI provided funding through VSI’s purchases of Stream shares:




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Debtors’ counsel responded:




The January 17, 2024 email exchange is attached as Exhibit F.

   •   Seven Stock Purchase Agreements between Stream and VSI—four of which were entered

into post-petition—dated: February 27, 2023 (for a total Purchase Price of $1,427,355); February

27, 2023 (for a total Purchase Price of $1,525,275); March 10, 2023 (for a total purchase price of

$750,000); July 6, 2023 (for a total Purchase Price of $35,000,000); July 10, 2023 (for a total

Purchase Price of $2,000,000); September 11, 2023 (for a total Purchase Price of $5,000,000); and

September 11, 2023 (for a total Purchase Price of $5,000,000). Copies of the Stock Purchase

Agreements are attached as Exhibits G1-G7.

   •   Affidavit of Mathu Rajan Regarding Capstone Capital Markets LLC dated June 12,


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2024:

   2.          I am President and Chief Executive Officer of [VSI] and have held
               those posts since the company’s formation in 2022. I also serve as
               one of the directors on the company’s board.

               3. I am also the sole director of Stream Networks, Inc. [sic] … a
               position I have held since the company’s formation in 2009. I was
               also Chief Executive Officer and maintained operational control of
               Stream from its inception until January 5, 2024, when the U.S.
               Bankruptcy Court for the Eastern District of Pennsylvania issued an
               order appointing a chapter 11 trustee….

               4. VSI is a party in interest in the Stream bankruptcy proceedings
               as an equity holder of Stream and the proposed sponsor of a plan of
               reorganization….

A copy of Rajan’s Affidavit is attached as Exhibit A.

   •    Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs,

attached as Exhibits B (Stream) and C (Technovative).

   •    VSI email and spreadsheet dated December 22, 2023 from VSI/Stream Financial Executive

to VSI Director Daniel Rink, with a copy to Rajan, re: “Updated Issuances of Stream TV shares to

VSI” (a copy of which is attached as Exhibit H):

               Please see a summary of Stream TV share issuances to VSI against
               the subscription agreements as of Nov 30, 2023. The summary tab
               shows you the issuances against each agreement and the Detail tab
               shows you the issuances each month. The issuances post petition
               and as reflected in the MORs are identified separately. I have
               updated the tally per the revised MORs that were submitted.

               These shares are recorded in the corporate ledger and only digitally
               issued. No physical share certificates are issued….

   •    Nine Amended Monthly Operating Reports (“MORs”) filed by the Debtor in December

2023, shortly before the Trustee was appointed, covering the periods from the Petition Date in

March 2023 through November 2023 (relevant portions of which are attached as Exhibits I-1to I-

9). Each month, VSI provides a report identifying the summary of expenses paid by VSI on behalf


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of Stream for that month and declaring the number of Stream shares to be issued in return. The

report for June 2023 follows:




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       23.     The Motion is supported by two Declarations, one from Nicole Maneen, and one

from Suby Joseph. In paragraphs 2 and 3 of the Maneen Declaration, Maneen declares under

penalty of perjury that:

               2. Prior to the Steam bankruptcy filing, [VSI] paid certain [Stream]
               expenses on behalf of Steam as an equity investment pursuant to
               stock purchase agreements between Stream and VSI.

               3. After the Stream bankruptcy filing, and after the pre-petition stock
               purchase agreements had been satisfied, VSI made additional
               payments on behalf of Stream.

       24.     The Maneen declaration is materially false to the extent it suggests—and it does—

that VSI made payments post-petition that were not associated with stock purchase agreements

between VSI and Stream: “3. After the Stream bankruptcy filing, and after the pre-petition stock

purchase agreements had been satisfied VSI made additional payments on behalf of Stream.”

       25.     As Maneen knows but omitted from her Declaration, VSI and Stream entered into

four post-petition stock purchase agreements for a total purchase price of $47,000,000, which were

funded by the payment of Stream expenses post-petition after the pre-petition stock purchase

agreements had been satisfied. See Exhibit I.

       26.     Paragraphs 2 and 3 of the Joseph Declaration are similarly false and misleading, as

they falsely suggest that post-petition payments by VSI were not associated with stock purchase

agreements.

       27.     Not only is the Motion substantively meritless, it fails to provide the detail and

support mandated by the Court order (the “Admin Order”) (D.I. #948) setting a deadline for

asserting a claim for administrative priority expenses pursuant to Section 503 of the Bankruptcy

Code. In that regard, the Motion was to comply with “L.B.R. 3002-2 and must include supporting




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documentation substantiating the amount and validity of the claim.” See Admin Order

(emphasis added).

       28.     As is facially evident, the Motion violates the Admin Order because it does not

contain supporting documentation substantiating the amount and validity of the payments for

which an administrative claim is sought.

II.    APPLICABLE LAW

       29.     Section 503 of the Bankruptcy Code provides in relevant part:

               (b) After notice and a hearing, there shall be allowed administrative
               expenses, . . . including-
                       (1)
                                (A) the actual, necessary costs and expenses of
                                preserving the estate[.]

11 U.S.C. § 503.

       30.     The administrative treatment of a claim is intended to (1) encourage parties to deal

with the insolvent debtor post-petition to facilitate the debtor’s rehabilitation and (2) ensure the

efforts of creditors do not unjustly enrich the estate. See In re Jefferson Investment Company, 151

B.R. 920, 922 (Bankr. E.D. Mo. 1993) (citations omitted); see also, In re Molnar Bros., 200 B.R.

555, 559 (Bankr. D.N.J. 1996) (policy behind giving priority to administrative claimants is to keep

administrative costs to a minimum to preserve the debtor’s estate).

       31.     To recover an administrative claim under this provision, a claimant must be a

“creditor” of the debtor and must provide a “substantial contribution” to the debtor’s estate. In re

Lease-A-Fleet, Inc., 148 B.R. 419, 426 (Bankr. E.D. Pa. 1992) (citing In re St. Mary Hospital, 120

B.R. 25, 28, 30-31 (E.D. Pa. 1990), aff’d, 931 F.2d 51 (3rd Cir. 1991); In re FRG, Inc., 124 B.R.

653, 657 (Bankr. E.D. Pa. 1991)).

       32.     While “substantial contribution” is not defined in the Bankruptcy Code, the Third




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Circuit has held:

               In “determining whether there has been a 'substantial contribution’
               pursuant to section 503(b)(3)(D), the applicable test is whether the
               efforts of the applicant resulted in an actual and demonstrable
               benefit to the debtor's estate and the creditors.”
In re Tropicana Entm't LLC, 498 Fed. Appx. 150, 152 (3d Cir. 2012) (quoting Lebron v. Mechem

Fin. Inc., 27 F.3d 937, 944 (3d Cir. 1994)).

       33.     As the party seeking allowance of an administrative expense, VSI bears

the burden of proof, a burden that it cannot meet. In re Massetti, 95 B.R. 360, 363 (Bankr. E.D.

Pa. 1989); see also In re Blessing Industries, Inc., 263 B.R. 268, 272 (Bankr. N.D. Iowa 2001).

Further, “[s]ince the affording of priority status to one creditor has an impact upon other creditors

of the debtor's estate and conflicts with the goal of bankruptcy to provide creditors with an equal

distribution of a debtor's resources, this court has consistently held that administrative claims must

be narrowly construed.” In re Lease-A-Fleet, Inc., 140 B.R. 840, 844 (Bankr. E.D. Pa. 1992)

(collecting cases).

       34.     Courts applying Section 503 do so narrowly - Section 503(b)(1)(A) was not

enacted to “saddle debtors with special post-petition obligations lightly or give preferential

treatment to certain select creditors by creating a broad category of administrative expenses.” Id.

(quoted reference omitted).

       35.     Finally, since VSI is an insider of the Debtor the request for administrative

expense is subject to higher scrutiny. See In re Keystone Surplus Metals, Inc., 445 B.R. 483, 488

(Bankr. E.D. Pa. 2010) (citing Arney v. MRI Tanglewood Rental Investments, Inc. (In re The Alpha

Corporation of Virginia), 979 F.2d 847 (4th Cir 1993).




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III.      ARGUMENT

          A.      VSI is Not a Creditor of the Debtors.

          37.     VSI is an affiliate of the Debtors under the common control of Rajan, and an insider

of the Debtors.

          38.     In the Schedules of Assets and Liabilities and Statements of Financial Affairs filed

by the Debtors, VSI is reflected as: (i) an equity holder of Stream holding over eighty percent

(80%) of the voting control over Stream, (ii) having no interest in Technovative, and (iii) being

neither a creditor nor a shareholder of Technovative. See Schedules of Assets and Liabilities and

Statements of Financial Affairs attached, respectively, as Exhibits B (Stream) and C

(Technovative).

          39.     VSI is not a creditor of the Debtors, and the advances identified in the Motion were

made, if at all, in return for shares of Stream. No loan was contemplated, there was no agreement

to repay the advances and no document evidencing a loan or a repayment obligation is alleged or

exists.

          B.      The Motion Fails to Demonstrate Any Benefit to the Debtors.

          40.     In the Motion, VSI claims that “[b]oth prior and after the Chapter 11 Trustee’s

appointment, VSI made extensive and significant payments that benefitted Stream’s estate. . .”.

The allegations are conclusory, and no specific benefit is disclosed. See Motion at Paragraph 7.

          41.     The Motion fails to allege—let alone establish—how the expenditures benefitted

Stream’s bankruptcy estate and does nothing to justify the allowance.

          42.     VSI advances were made in exchange for shares of Stream, not as loans, and not as

administrative expenses that prime other creditors.




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       43.    As of August 14, 2023, VSI had made payments on behalf of Stream totaling

roughly $1.5 million—all the while swearing that no creditor relationship existed, and that there

was no repayment obligation.

       44.    There are no agreements, communications, or other evidence to suggest—let alone

establish—that this arrangement of payment for shares changed after the Trustee’s appointment.

       45.    Of course, had Stream been obligated to VSI for any prepetition claims, those

claims would have been provided for and reflected in Stream’s Schedules.

       46.    If any advances were indeed made, they were on the same terms previously

represented by VSI, namely, that additional Stream shares were being obtained for money

allegedly advanced.

       47.    VSI is now seeking by sleight of hand to transform advances made to acquire equity

into loans.

       C.     VSI’s Pre-Appointment Advances were not Loans to Stream.

       48.    The amounts alleged to have benefited Stream, which VSI claims to have advanced,

are not intuitive or self-authenticating. It is VSI’s burden to demonstrate how each expenditure

benefited Stream’s bankruptcy estate.

       49.    Examples of these confusing entries and the lack of detail supporting an allowed

pre-Trustee appointment administrative claim include:

              (a) Software ($636.00);

              (b) Funding BoA ($29,476.83);

              (c) Funding to M&T ($196,000.00);

              (d) Legal Fee ($2,962,42);

              (e) Insurance ($434.32);




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               (f) Office ($763.07);

               (g) Travel ($17,905.73);

               (f) Consultant ($103,900.82);

               (g) Bank Charges ($231.00 and $141.32); and

               (g) Storage ($28,28.00).

       50.     Moreover, there is no explanation or support as to how these individual

expenditures by VSI benefited Stream’s bankruptcy estate.

       51.     It is also important to note that VSI’s prior efforts to obtain Court approval for

providing DIP financing while the debtors were in possession were denied due to Rajan wearing

too many hats and failing to be candid with the Court.

       52.     This Court specifically found that the DIP loans proposed by Stream and VSI could

not be approved because funding was readily available directly from SeeCubic without the

necessity of Stream incurring debt. Trustee Opinion at 41-42.

       53.     The Court further found that the Debtor was unable to establish that Stream was

even responsible for funding SCBV’s operations. Id. at 41.

       54.     Finally, conflicts of interest infected and torpedoed the proposed financing:

“the evidence at the hearing made clear to the Court that the proposal to have the Debtors incur $1

million in post-petition administrative debt to VSI… was also fatally flawed because Mr. Rajan

was on both sides of the proposed transaction.” Id. at 42.

       55.     VSI seeks to employ Section 503 as a back door to overcome the twice denied DIP

loans, and the Motion should be denied.




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        D.     VSI’s Claimed Post-Appointment Expenditures Provided No Benefit to the
               Debtors’ Bankruptcy Estates and Benefitted Only VSI and Rajan.

        56.    The Trustee did not agree that advances as to which he was made aware (or

authorized) would be obligations of the Debtor. To the contrary, the Trustee was told that VSI

made advances in return for shares of Stream, and he understood that all advances would be treated

in that manner.

        57.    For a short period after his appointment while evaluating the Debtors and the

positions of the parties in interest in the bankruptcy cases, the Trustee received three wires from

VSI ($31,125.00 on 2/5/24, $21,125.00 on 2/20/24 and $21,125.00 on 3/8/24 the last returned to

VSI on 3/12/24) and used those funds to pay alleged Stream’s contract employees in an effort to

preserve the status quo and ensure that no individuals were harmed as a result of management

being removed from control of the Debtors. Shortly thereafter the Trustee determined not to accept

any further monies from VSI for any reason and advised VSI of same.

        58.    After determining that VSI and Stream’s contract employees (acting for the benefit

of VSI and Rajan) were acting in their own self-interest and that Stream had no operations or the

need for “employees”, the Trustee advised VSI that any further dealings would require Court

approval and began negotiating a potential Debtor-in-possession financing and a viable path

forward for the Debtors. A deal between the Trustee and VSI was never reached.

        59.    As of May 6, 2024, VSI was on notice the Hawk Settlement Agreement, the Court-

approved plan to sell the Debtors’ assets, and the secured creditors’ commitment to advance

necessary funds to preserve the value of the assets to be sold.

        60.    From that point forward, it is ludicrous for VSI to suggest—and patently fraudulent

for it to claim—that it was making advances at the Trustee’s request as an administrative obligation

of the Debtors’ bankruptcy estates.



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         61.   While the Debtors were not in possession and the Trustee was in control, VSI was

not authorized to incur debt on behalf of the Debtors’ bankruptcy estates, and Rajan was not

authorized to conduct any business on behalf of the Debtors.

         62.   Stream had no ongoing operations as of the Appointment Date; yet VSI alleges to

have incurred almost $1,000,000.00 in expenses since that time for which Stream’s bankruptcy

estate should be liable.

         63.   The Motion also includes expenditures ordinarily incurred by debtors in possession;

however, the debtors did not operate at any point after the Appointment Date. These expenditures

include the same description as the expenditures claimed pre-appointment and ironically exceed

the expenditures while acting as a debtor in possession by a factor of three.

         64.   VSI claims expenditures for: (a) accounting ($3,251.50) without providing any

 information on who was paid, by whom, why the expense was incurred, or how it benefitted

 Stream’s bankruptcy estate; (b) Funding to and from Tristate ($52,300.00) without explaining

 how it benefitted Stream; (c) Legal ($28,157.53) without explaining which firm was paid, who

 they represented, and in which matter the services were provided; (d) Payroll ($812,000.00)

 without identifying the payees and what the person was doing for a debtor that was not operating;

 and (e) Sales ($36,765.30) when Stream was not selling or operating at all after the Appointment

 Date.

         65.   VSI’s claim that the Trustee induced the advances is pure nonsense. While the

 Trustee did not object to the payments because he was told that VSI made them in return for

 shares of Stream, he did not authorize the incurrence of an administrative expense.

         E.    VSI’s Disclosure Statement Accompanying its Plan Did Not Disclose the
               Existence of Administrative Claims in Favor of VSI in the Amounts Claimed
               in the Motion.


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       66.     Following the entry of the Sale Order on December 3, 2024, VSI filed a Plan of

Reorganization (the “Plan”) and Disclosure Statement (the “Disclosure”). See D.I. 848 and 847.

       67.     Neither the Plan nor the Disclosure mentions VSI holding an administrative claim

or seeking payment for any claim.

       68.     The Disclosure identifies administrative claims totaling $4-7 million; however,

these amounts are based on the $3 million prepetition fee claim of the Debtors’ counsel (to which

the Trustee has objected), the Trustee’s fees, and those of his professionals. The VSI administrative

claim is not mentioned and is not included because VSI knew that no such claim existed.

       69.     The failure to disclose or discuss VSI’s alleged $1.2 million administrative claim

as late as December 2024 is significant. Its absence supports the Trustee’s position that the alleged

advances were made without any expectation of repayment.

V.     CONCLUSION

       In light of the foregoing facts and authorities, the Trustee respectfully submits that the

Motion should be denied.



                                              Respectfully submitted,


Dated: March 24, 2025                         By: /s/ Steven M. Coren
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